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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

  AGRITRADE FARMS, LLC., and
  AGRIEXPORT DE HONDURAS S.A.
  DE CV.,

        Plaintiffs,
  vs.                                            CASE NO.: 0:18-cv-61810-FAM

  LUIS RODRIGUEZ, GUAYACAN
  AGROINDUSTRIAL, S DE RL, and
  GUAYACAN FARMS SA DE CV,

        Defendants.
  ___________________________________/

                      DEFENDANTS’ REMOVAL STATUS REPORT

        The Defendants, Luis Rodriguez (“Rodriguez”), Guayacan Agroindustrial, S

  de RL (“Guayacan Agroindustrial”), and Guayacan Farms SA de CV (“Guayacan

  Farms”), pursuant to the Court’s Notice of Court Practice in Removal Cases (D.E.

  15), hereby file this Removal Status Report and state:

        1.     Nature of Plaintiffs’ Claim. The Plaintiffs, Agritrade Farms, LLC

  (“Agritrade”) and Agriexport de Honduras S.A. de C.V. (“Agriexport”), filed suit on

  July 3, 2018 in the Circuit Court of the Seventeenth Judicial Circuit in and for

  Broward County, Florida. On August 21, 2018, the Plaintiffs filed a First Amended

  Complaint (D.E. 10). In the First Amended Complaint, Plaintiffs allege causes of

  action for breach of contract, conversion, tortious interference with existing

  contract; tortious interference with business relationship, and declaratory relief

  regarding arbitration provision, and seek damages of at least $130,449.80. (See
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  First Amended Complaint, D.E. 10). At this time, there are no pending

  counterclaims, cross-claims, or third-party claims.

        2.     Grounds for Removal. This action arises from a Grower’s Agreement

  entered into by both Plaintiffs and the Defendants, Guayacan Agroindustrial and

  the individual Defendant, Luis Rodriguez. Guayacan Agroindustrial was unable to

  get an export license, so Guayacan Farms assumed the contract and the Plaintiff

  Agriexport (rather than the Defendant Guayacan Agroindustrial) exported

  vegetables to the United States. The Grower’s Agreement contains a mandatory,

  binding agreement to arbitrate any disputes.

        The Defendants removed this case based on Federal Question Jurisdiction.

  This Federal Court has original jurisdiction to enforce the arbitration agreement in

  the Grower’s Agreement. The subject of the Grower’s Agreement was the cultivation

  of vegetables in Honduras and transportation of that produce in foreign commerce

  to Agritrade, in the United States. Hence, the Agreement and the parties’ dealings

  thereunder concern commerce among the states, territories, and foreign nations. As

  extensively discussed with legal citations in the Notice of Removal, the parties’

  international contract agreeing to arbitration is subject to enforcement by this

  Court pursuant to the Convention on the Recognition and Enforcement of Foreign

  Arbitral Awards. The Convention is enforceable in the U.S. pursuant to the Foreign

  Arbitral Awards Act (“FAAA”), 9 U.S.C. §§ 201-208. The FAAA implements and

  enforces the Convention in the U.S., and is governing law as to the enforcement,

  validity, and interpretation of arbitration provisions in international commercial



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  contracts in all U.S. state and Federal courts. See Allied-Bruce Terminix

  Companies, Inc. v. Dobson, 513 U.S. 265, 269-73, 115 S. Ct. 834 (1995); Indust. Risk

  Insurers v. M.A.N Gutehoffnungshutte, GmbH, 141 F.3d 1434, 1440 (11th Cir. 1998).

  Federal district courts have original jurisdiction over an action or proceeding falling

  under the Convention. See 9 U.S.C. § 203. The Convention explicitly grants the

  district courts power to compel arbitration. See 9 U.S.C. §§ 206-207. Section 205, the

  Convention’s special removal provision, provides for removal where the subject

  matter “relates to an arbitration agreement or award falling under the Convention.”

  9 U.S.C. § 205; see also Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth,

  Inc., 473 U.S. 614, 615, 105 S. Ct. 3346, 3347 (1985); Scherk v. Alberto-Culver

  Co., 417 U.S. 506, 518, 94 S. Ct. 2449, 2457 (1974); Acosta v. Master Maint. &

  Constr. Inc., 452 F. 3d 373, 377 (5th Cir. 2006); Beiser v. Weyler, 284 F.3d 665 (5th

  Cir. 2002).

        3.      Pending Motions. There are no pending motions. The Defendants

  previously filed a combined Motion to Dismiss or Stay Action to Enforce Arbitration

  Agreement, Motion to Dismiss the Complaint, and Motion for Summary Judgment

  (D.E. 3). On August 21, 2018, the Plaintiffs filed a First Amended Complaint (D.E.

  10), the filing of which mooted the Defendants’ Motions directed to the original

  Complaint.1 The Defendants intend to file Motions to Dismiss and for other relief in


  1  The Plaintiffs also filed on August 21, 2018 their Response, entitled “Opposition
  to Motion to Dismiss or Stay,” to the Defendants’ Motion to Dismiss the original
  Complaint, notwithstanding the filing of the Amended Complaint mooted the
  pending Rule 12 motions. Accordingly, rather than file a Reply in further support of
  their now mooted motions directed to the original Complaint, the Defendants will
  instead be filing new Rule 12 and 56 motions directed to the Amended Complaint.

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  response to the Amended Complaint.

         4.     Defendants’ Joinder to Notice of Removal. The Defendants, Rodriguez,

  Guayacan Agroindustrial, and Guayacan Farms, all joined in the removal of this

  action. (D.E. 1).

         5.     Timing of Filing of Notice of Removal. The Defendants filed the Notice

  of Removal within thirty days of when they were served with process on July 6,

  2018. Thirty days from July 6, 2018 is August 5, 2018. The Defendants filed the

  Notice of Removal on August 3, 2018, within the thirty-day removal period.

         6.     Filing of State Court Proceedings. The Defendants previously filed

  copies of all records and proceedings in the state court proceedings as an exhibit to

  the Notice of Removal. Pursuant to the Court’s direction in the Court’s Notice, the

  Defendants filed copies of the complete state court record by separate notice (D.E. 12)

  filed August 21, 2018.

                                   Respectfully submitted,

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                               Certificate of Service

        IT IS HEREBY CERTIFIED that a true and correct copy of the foregoing was

  served on August 21, 2018 upon the following counsel by filing with the Court’s

  CM/ECF system: Robert E. Goldman, Esq., Law Office of Robert E. Goldman, counsel

  for the Plaintiffs, 1 East Broward Blvd., Suite 700, Fort Lauderdale, Florida 33301

  (Robert@goldmanlaw.com).

                                 By:   \s\ Tim Henkel
                                    TIMOTHY D. HENKEL, ESQ.




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